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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     TWINSTRAND BIOSCIENCES, INC., &
     UNIVERSITY OF WASHINGTON,

                            Plaintiffs,
                                                         C.A. No. 2 1-1126 (LPS)
                     V.

     GUARD ANT HEALTH, INC.,

                            Defendant.


                    ~             [PROPOSED] SCHEDULING ORDER

           This ' \        day   o~~~ ~         21 , the Court h!WiHg cgnduet:ed a Case Managcmct1t

    Con:ferenee/Rul@ 16 3ehedulhrg ahd plen..'liPg confere nce 12.ursatmt to Local Rule 16.2(a) am:t

    Judge Stark's Revised Prnsedur@s foe Managing Patent Cases (whica i:s po3ted B.t

    http: //i,>v .vv,,.ded 11i;cgurts.goY; !Jee Cha-mber3, Judge Leona:rd P. Stark, Patent Case~), and the
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    parties having determined after discussion that the matter cannot be resolved at this juncture

    by settlement, voluntary mediation, or binding arbitration;

           IT IS HEREBY ORDERED that:

            1.     Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. The

    parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure

    26(a)(l) within twenty-five (25) days of the date of this Order. If they have not already done

    so, the parties are to review the Court' s Default Standard for Discovery, Including Discovery

    of Electronically Stored Information ("ESI") (which is posted at

    http ://www.ded.uscourts.gov; see Other Resources, Default Standards for Discovery, and is

    incorporated herein by reference).
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            2.     Jo inder of Other Parties and Amendment of Pleadings. All motions to join

    other parties, and to amend or supplement the pleadings, shall be filed on or before May 20,

    2022.

            3.     Application to Court for Protective Order. Should counsel find it will be

    necessary to apply to the Court for a protective order specifying terms and conditions for the

    disclosure of confidential information, counsel should confer and attempt to reach an

    agreement on a proposed form of order and submit it to the Court within thirty (30) days

    from the date of this Order. Should counsel be unable to reach an agreement on a proposed

    form of order, counsel must follow the provisions of Paragraph 8(g) below.

            Any proposed protective order must include the following paragraphs:

                       1. Other Proceedings. By entering this order and limiting
                          the disclosure of information in this case, the Court does
                          not intend to preclude another court from finding that
                          information may be relevant and subject to disclosure in
                          another case. Any person or party subject to this order
                          who becomes subject to a motion to disclose another
                          party's information designated "CONFIDENTIAL" or
                          "HIGHLY CONFIDENTIAL" pursuant to this order
                          shall promptly notify that party of the motion so that the
                          party may have an opportunity to appear and be heard on
                          whether that information should be disclosed.

            4.     Papers Filed Under Seal. In accordance with section G of the Administrative

    Procedures Governing Filing and Service by Electronic Means, a redacted version of any

    sealed document shall be filed electronically within seven (7) days of the filing of the sealed

    document.

            Should any party intend to request to seal or redact all or any portion of a transcript of

    a court proceeding (including a teleconference), such party should expressly note that intent

    at the start of the court proceeding. Should the party subsequently choose to make a request

    for sealing or redaction, it must, promptly after the completion of the transcript, file with the
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    Court a motion for sealing/redaction, and include as attachments ( 1) a copy of the complete

   transcript highlighted so the Court can easily identify and read the text proposed to be

    sealed/redacted, and (2) a copy of the proposed redacted/sealed transcript. With their request,

    the party seeking redactions must demonstrate why there is good cause for the redactions and

   why disclosure of the redacted material would work a clearly defined and serious injury to

   the party seeking redaction.

           5.      Courtesy Copies. Other than with respect to "discovery matters," which are

    governed by paragraph 8(g), and the final pretrial order, which is governed by paragraph 20,

    the parties shall provide to the Court two (2) courtesy copies of all briefs and one (1)

    courtesy copy of any other document filed in support of any briefs (i.e., appendices, exhibits,

    declarations, affidavits etc.). This provision also applies to papers filed under seal.

           6.      ADR Process. This matter is referred to a magistrate judge to explore the

    possibility of alternative dispute resolution.

           7.      Disclosures. Absent agreement among the parties, and approval of the Court:

                   a.      By January 12, 2022, Plaintiffs shall identify the accused product(s),

    including accused methods and systems, and its damages model, as well as the asserted

    patent(s) that the accused product(s) allegedly infringe(s). Plaintiffs shall also produce the

    file history for each asserted patent.

                   b.      By February 17, 2022, Defendant shall produce core technical

    documents related to the accused product(s), sufficient to show how the accused product(s)

    work(s), including but not limited to non-publicly available operation manuals, product

    literature, schematics, and specifications. Defendant shall also produce sales figures for the

    accused product( s).



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                  c.         By March 18, 2022, Plaintiffs shall produce an initial claim chart

   relating each known accused product to the asserted claims each such product allegedly

    infringes.

                  d.         By April 19, 2022, Defendant shall produce its initial invalidity

   contentions for each asserted claim, as well as the known related invalidating references.

                  e.         By February 17, 2023 , Plaintiffs shall provide final infringement

   contentions.

                  f.         By February 17, 2023 , Defendant shall provide final invalidity

   contentions.

           8.     Discovery. Unless otherwise ordered by the Court, the limitations on

    discovery set forth in Local Rule 26 .1 shall be strictly observed.

                  a.         Discovery Cut Off. All discovery in this case shall be initiated so

   that it will be completed on or before February 3, 2023.

                  b.         Document Production. Document productions shall be substantially

    complete by September 9, 2022.

                  c.         Requests for Admission. A maximum of 30 requests for admission

    are permitted for each side. Any requests for admission directed to the authentication or

    admissibility of documents are excluded from this limitation.

                  d.         Interrogatories.

                        1.          A maximum of 30 interrogatories, including contention

                                    interrogatories, are permitted for each side.

                       11.          The Court encourages the parties to serve and respond to

                                    contention interrogatories early in the case. In the absence of


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                               agreement among the parties, contention interrogatories, if

                               filed, shall first be addressed by the party with the burden of

                               proof. The adequacy of all interrogatory answers shall be

                               judged by the level of detail each party provides; i.e. , the

                                more detail a party provides, the more detail a party shall

                               receive.

              e.         Depositions.

                    1.         Limitation on Hours for Deposition Discovery. Each side is

                                limited to a total of 70 hours of taking fact testimony by

                               deposition upon oral examination, including depositions

                               conducted under Rule 30(6)(6) of the Federal Rules of Civil

                               Procedure and third-party witnesses. Any deposition lasting

                               fewer than 5 hours will count as 5 hours against the total time of

                               the side taking the deposition. If a deponent testifies wholly or

                                substantially through an interpreter, the party taking the

                               deposition shall be permitted, on a pro rata basis, 1.5 hours of

                                deposition time for each hour spent testifying through the

                                interpreter.

                   11.         Location of Depositions. The parties shall meet and confer

                               regarding the locations of depositions, taking into account the

                               worldwide health situation and the convenience of the deponent.

                               The parties may agree to take remote depositions.

              f.         Disclosure of Expert Testimony.



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                    1.          Expert Reports . For the party who has the initial burden of proof

                                on the subject matter, the initial Federal Rule 26(a)(2) disclosure

                                of expert testimony is due on or before March 24, 2023. The

                                supplemental disclosure to contradict or rebut evidence on the

                                same matter identified by another party is due on or before April

                                21 , 2023. Reply expert reports from the party with the initial

                                burden of proof are due on or before May 15, 2023. No other

                                expert reports will be permitted without either the consent of all

                                parties or leave ofthe Court. Along with the submissions of the

                                expert reports, the parties shall advise of the dates and times of

                                their experts ' availability for deposition.

                   11.          Expert Report Supplementation. The parties agree they will not

                                permit expert declarations to be filed in connection with motions

                                briefing (including case-dispositive motions).

                   m.           Objections to Expert Testimony. To the extent any objection to

                                expert testimony is made pursuant to the principles announced

                                in Daubert v. Merrell Dow Pharm., Inc., 509 U.S . 579 (1993),

                                as incorporated in Federal Rule of Evidence 702, it shall be made

                                by motion no later than the deadline for dispositive motions set

                                forth herein, unless otherwise ordered by the Court. Briefing on

                                such motions is subject to the page limits set out in connection

                                with briefing of case dispositive motions.

              g.         Discovery Matters and Disputes Relating to Protective Orders.



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                   1.    Any discovery motion filed without first complying with the

                         following procedures will be denied without prejudice to renew

                         pursuant to these procedures.

                  11.    Should counsel find, after good faith efforts-including verbal

                         communication among Delaware and Lead Counsel for all

                         parties to the dispute-that they are unable to resolve a

                         discovery matter or a dispute relatingto a protective order, the

                         parties involved in the discovery matter or protective order

                         dispute shall submit a joint letter in substantially the following

                         form:

                                 Dear Judge Stark:

                                        The parties in the above- referenced
                                 matter write to request the scheduling of a
                                 discovery teleconference.

                                         The following attorneys, including
                                 at least one Delaware Counsel and at least
                                 one Lead Counsel per party, participated in
                                 a verbal meet-and-confer (in person and/or
                                 by telephone) on the following date(s):




                                 Delaware Counsel :

                                 Lead Counsel: - - - - - - - -

                                         The disputes requiring judicial
                                 attention are listed below:

                                 [provide here a non-argumentative list of
                                 disputes requiring judicial attention]

                  m.     On a date to be set by separate order, generally not less than


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                                     forty-eight (48) hours prior to the conference, the party seeking

                                     relief shall file with the Court a letter, not to exceed three (3)

                                     pages, outlining the issues in dispute and its position on those

                                     issues. On a date to be set by separate order, but generally not

                                     less than twenty-four (24) hours prior to the conference, any

                                     party opposing the application for relief may file a letter, not to

                                     exceed three (3) pages, outlining that party's reasons for its

                                     opposition.

                        1v.          Each party shall submit two (2) courtesy copies of its discovery

                                     letter and any attachments.

                         v.          Should the Court find further briefing necessary upon conclusion of

                                     the telephone conference, the Court will order it. Alternatively, the

                                     Court may choose to resolve the dispute prior to the telephone

                                     conference and will, in that event, cancel the conference.

             9.    Motions to Amend.

                   a.         Any motion to amend (including a motion for leave to amend) a pleading

    shall N OT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not

    to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

    proposed amended pleading as well as a "blackline" comparison to the priorpleading.

                   b.         Within seven (7) days after the filing of a motion in compliance with this

    Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

    pages.

                   c.         Within three (3) days thereafter, the moving party may file a reply letter,



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   not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

   teleconference to address the motion toamend.

           10.    Motions to Strike.

                  a.      Any motion to strike any pleading or other document shall NOT be

   accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed

   three (3) pages, describing the basis for the requested relief, and shall attach the document to

   be stricken.

                  b.      Within seven (7) days after the filing of a motion in compliance with

   this Order, any party opposing such a motion shall file a responsive letter, not to exceed five

   (5) pages.

                  c.      Within three (3) days thereafter, the moving party may file a reply letter,

   not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

   teleconference to address the motion to strike.

           11.    Tutorial Describing the Technology and Matters at Issue. Unless otherwise

    ordered by the Court, the parties shall provide the Court, no later than the date on which the

   Plaintiffs' Opening Claim Construction brief is due to be served, a tutorial on the technology

    at issue. In that regard, the parties may separately or jointly submit a DVD of not more than

   thirty (30) minutes. The tutorial should focus on the technology at issue and should not be

    used for argument. The parties may choose to file their tutorial(s) under seal, subject to any

    protective order in effect. Each party may comment, in writing (in no more than five (5)

    pages) on the opposing party' s tutorial. Any such comment shall be filed no later than the

    date on which the Answering Claim Construction Brief is due to be served. As to the format

    selected, the parties should confirm the Court' s technical abilities to access the information



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    contained in the tutorial (currently best are " mpeg" or "quicktime").

             12.   Claim Construction Issue Identification. On June 10, 2022, the parties shall

    exchange a list of those claim term(s)/phrase(s) that they believe need construction, and on

    June 17, 2022, the parties shall exchange their proposed claim construction of those

    term(s)/phrase(s). These documents will not be filed with the Court. Subsequent to

    exchanging that list, the parties will meet and confer to prepare a Joint Claim Construction

    Chart to be submitted on July 1, 2 022. The parties ' Joint Claim Construction Chart should

    identify for the Court the term(s)/phrase(s) of the claim(s) at issue, and should include each

    party's proposed construction of the disputed claim language with citation(s) only to the

    intrinsic evidence in support of their respective proposed constructions. A copy of the

    patent( s) at issue as well as those portions of the intrinsic record relied upon shall be

    submitted with this Joint Claim Construction Chart. In this joint submission, the parties shall

    not provide argument.

             13.   Claim Construction Briefing. Plaintiffs shall serve, but not file, their

    opening brief, not to exceed 20 pages, on July 27, 2022. Defendant shall serve, but not

    file, its answering brief, not to exceed 30 pages, on August 26, 2022. Plaintiffs shall

    serve, but not file, their reply brief, not to exceed 20 pages, on September 16, 2022.

    Defendant shall serve, but not file, its sur-reply brief, not to exceed 10 pages, on

    September 30, 2022. No later than October 12, 2022, the parties shall file a Joint Claim

    Construction Brief. The parties shall copy and paste their untiled briefs into one brief,

    with their positions on each claim term in sequential order, in substantially the form

    below.




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                           JOINT CLAIM CONSTRUCTION BRIEF

           I.      Representative Claims

           II.     Agreed-upon Constructions

           III.    Disputed Constructions.

                   A.      [TERM 1] 1

                           1.      Plaintiffs' Opening Position

                           2.      Defendant's Answering Position

                           3.      Plaintiffs ' Reply Position

                           4.      Defendant' s Sur-Reply Position

                   B.      [TERM 2]

                           1.      Plaintiffs ' Opening Position

                           2.      Defendant' s Answering Position

                           3.      Plaintiffs ' Reply Position

                           4.      Defendant' s Sur-Reply Position

    The parties need not include any general summaries of the law relating to claim construction.

    If there are any materials that would be submitted in an appendix, the parties shall submit

    them in a Joint Appendix.
                                                                        ~;i,o
            14.    Hearing on Claim Construction. Beginning a t ~ a.m. on November lB._,

    2022, the Court will hear argument on claim construction. The parties shall notify the

    Court, by joint letter submission, no later than the date on which their answering claim

    construction briefs are due: (i) whether they request leave to present testimony at the



           1
             For each term in dispute, there should be a table or the like setting forth the term in
    dispute and the parties' competing constructions.

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    hearing; and (ii) the amount of time they are requesting be allocated to them for the

    hearing.

             Provided that the parties comply with all portions of this Scheduling Order, and

    any other orders of the Court, the parties should anticipate that the Court will issue its

    claim construction order within sixty (60) days of the conclusion of the claim

    construction hearing. If the Court is unable to meet this goal, it will advise the parties no

    later than sixty ( 60) days after the conclusion of the claim construction hearing.

             15.   Interim Status Report. On February 10, 2023 , counsel shall submit a joint

    letter to the Court with an interim report on the nature of the matters at issue and the progress

    of discovery to date . Thereafter, if the Court deems it necessary, it will schedule a status

    conference.

             16.   Supplementation. Absent agreement among the parties, and approval of the

    Court, no later than January 18, 2023 , the parties must finally supplement, inter alia, the

    identification of all accused products and of all invalidity references.

             17.   Case Dispositive Motions. All case dispositive motions, an opening briefand

    affidavits, if any, in support of the motion shall be served and filed on or before June 23 ,

    2023. Briefing will be presented pursuant to the Court's Local Rules, as modified by this

    Order.

                   a.     No early motions without leave. No case dispositive motion under

    Rule 56 maybe filed more than ten (10) days before the above date without leave of the

    Court.

                   b.     Page limits combined with Daubert motion page limits. Each party is

    permitted to file as many case dispositive motions as desired; provided, however, that each



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    SIDE will be limited to a combined total of forty (40) pages for all opening briefs, a

    combined total of forty (40) pages for all answering briefs, and a combined total of twenty

    (20) pages for all reply briefs regardless of the number of case dispositive motions that are

    filed. In the event that a party files, in addition to a case dispositive motion, a Daubert

    motion to exclude or preclude all or any portion of an expert's testimony, the total amount of

    pages permitted for all case dispositive and Daubert motions shall be increased to fifty (50)

    pages for all opening briefs, fifty (50) pages for all answering briefs, and twenty-five (25)

    pages for all reply briefs for each SIDE.2

                   c.     Hearing. The Court will hear argument on all pending case dispositive
                                                             ~:oo
    and Daubert motions on July a£, 2023 , beginning a t ~ a.m. Subject to further order of

    the Court, each side will be allocated a total of forty-five (45) minutes to present its

    argument on all pending motions.

           18.     Applications by Motion. Except as otherwise specified herein, any application

    to the Court shall be by written motion filed with the Clerk. Any non-dispositive motion

    should contain the statement required by Local Rule 7. l. l .

           19.    Pretrial Conference. On October ti; 2023, the Court will hold a pretrial
                                                 1:oo
    conference in Court with counsel beginning a t ~ a.m. Unless otherwise ordered by the

    Court, the parties should assume that filing the pretrial order satisfies the pretrial disclosure

    requirement of Federal Rule of Civil Procedure 26(a )(3 ). The parties shall file with the Court

    the joint proposed final pretrial order with the information required by the form of Revised


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             The parties must work together to ensure that the Court receives no more than a total of
    250 pages (i.e., 50 + 50 + 25 regarding one side's motions, and 50 + 50 + 25 regarding the other
    side's motions) of briefing on all case dispositive motions and Daubert motions that are covered
    by this scheduling order and any other scheduling order entered in any related case that is
    proceeding on a consolidated or coordinated pretrial schedule.

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    Final Pretrial Order - Patent, which can be found on the Court' s website
                                               Dc.f . ~o
    (www.ded.uscourts.gov), on or before ~0fJ1:embcr        12:, 2023 . Unless otherwise ordered by the
    Court, the parties shall comply with the time-frames set forth in Local Rule 16.3(d)(l )-{3) for

    the preparation of the joint proposed final pretrial order.

           The parties shall provide the Court two (2) courtesy copies of the joint proposed final

    pretrial order and all attachments.

           As noted in the Revised Final Pretrial Order- Patent, the parties shall include in their

    joint proposed final pretrial order, among other things:

                   a.     a request for a specific number of hours for their trial presentations, as

    well as a requested number of days, based on the assumption that in a typical jury trial day

    (in which there is not jury selection, jury instruction, or deliberations), there will be 5 ½ to 6

    ½ hours of trial time, and in a typical bench trial day there will be 6 to 7 hours of trial time;

                   b.     their position as to whether the Court should allow objections to efforts

    to impeach a witness with prior testimony, including objections based on lack of

    completeness and/or lack ofinconsistency;

                   c.     their position as to whether the Court should rule at trial on objections

    to expert testimony as beyond the scope of prior expert disclosures, taking time from the

    parties' trial presentation to argue and decide such objections, or defer ruling on all such

    objections unless renewed in writing following trial, subject to the proviso that a party

    prevailing on such a post-trial objection will be entitled to have all of its costs associated with

    a new trial paid for by the party that elicited the improper expert testimony at the earlier trial;

    and

                   d.     their position as to how to make motions for judgment as a matter of



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    law, whether it be immediately at the appropriate point during trial or at a subsequent break,

    whether the jury should be in or out of the courtroom, and whether such motions may be

    supplemented in writing.

           20.     Motions in Limine. Motions in limine shall not be separately filed. All in

    limine requests and responses thereto shall be set forth in the proposed pretrial order. Each

    SIDE shall be limited to three (3) in limine requests, unless otherwise permitted by the

    Court. The in limine request and any response shall contain the authorities relied upon; each

    in limine request may be supported by a maximum of three (3) pages of argument and may

    be opposed by a maximum of three (3) pages of argument, and the side making the in limine

    request may add a maximum of one (1) additional page in reply in support of its request. If

    more than one party is supporting or opposing an in limine request, such support or

    opposition shall be combined in a single three (3) page submission (and, if the moving party,

    a single one (1) page reply), unless otherwise ordered by the Court. No separate briefing shall

    be submitted on in limine requests, unless otherwise permitted by the Court.

           21.     Jury Instructions, Vair Dire, and Special Verdict Forms. Pursuant to Local

    Rules 4 7 and 51, the parties should file (i) proposed voir dire, (ii) preliminary jury instructions,

    (iii) final jury instructions, and (iv) special verdict forms three (3) business days before the

    final pretrial conference. This submission shall be accompanied by a courtesy copy

    containing electronic files of these documents, in Microsoft Word format, which may be

    submitted by e-mail to Judge Stark' s staff.

           22.     Trial. This matter is scheduled for a five (5) day jury trial beginning at 9:30

    a.m. on November    _p_,2023, with the subsequent trial days beginning at 9:00 a.m. Until the
    case is submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m.



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    The trial will be timed, as counsel will be allocated a total number of hours in which to

    present their respective cases.

           23 .    Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after

    a jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of

    order to enter judgment on the verdict. At the same time, the parties shall submit a joint

    status report, indicating among other things how the case should proceed and listing any

    post-trial motions each party intends to file.

           24.     Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are

    limited to a maximum of twenty (20) pages of opening briefs, twenty (20) pages of answering

    briefs, and ten ( 10) pages of reply briefs relating to any post-trial motions filed by that side,

    no matter how many such motions are filed.




                                                  UNITED ST AlfES DISTRICT JUDGE




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